            Case 4:21-cr-06028-MKD                   ECF No. 155          filed 03/01/22      PageID.873 Page 1 of 1


                                                    CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   IGNACIO GARAY ORNELAS, a.k.a Junior          4:21-cr-06028-MKD -10
                                                       CASE NO. ______________________
                                                                                                                      FILED IN THE
                                                                                                                  U.S. DISTRICT COURT
                                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                          ✔
                                      1
                  TOTAL # OF COUNTS: _______          _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE
                                                                                                             Mar 01, 2022
                                                                                                                 SEAN F. MCAVOY, CLERK




Count              Statute                       Description of Offense                                    Penalty
                                                                                 CAG not less than 10 years and no more than a life term;
                                        Conspiracy to Distribute 50 Grams or
                                                                                 and/or $10,000,000 fine;
        21 U.S.C. §§ 841(a)(1),         More of Actual (Pure)
                                                                                 not less than 5 years nor more than life supervised release;
  1     (b)(1)(A) (ii), (vi), (viii),   Methamphetamine, 400 Grams or More
                                                                                 a $100 special penalty assessment;
        846                             of Fentanyl and 5 Kilograms or More of
                                                                                 denial of Certain Federal Benefits pursuant to 21 U.S.C.
                                        Cocaine
                                                                                 §§ 862 and 862a


        21 U.S.C. § 853                 Forfeiture Allegations
